” Case 2:05-cv-04182-SRD-JCW Document 20048-1 Filed 09/15/10 Page 1 of 3° ~~~ *

2:07-cv-05317-SRD-JCW Abundance Square Associates, LP v. United States of America et al
Stanwood R. Duval, Jr, presiding
Joseph C. Wilkinson, Jr, referral
Date filed: 09/04/2007
Date of last filing: 04/07/2010

History
Doc. as
No. Dates Description
Filed: 09/04/2007 |Complaint
Entered: 09/07/2007

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Docket Text: COMPLAINT against Sewerage & Water Board of New Orleans, St. Paul Fire & Marine Insurance
Co., National Union Fire Insurance Company of Pittsburgh, Board of Commissioners of the Port of New
Orleans, CSX Corporation, CSX Transportation, Inc., Public Belt Railroad Commission for the City of New
Orleans, United States of America, Board of Commissioners of the Orleans Levee District, Board of
Commissioners of the East Jefferson Levee District (Filing fee $ 350.) filed by Abundance Square Associates,
LP. (Attachments: # (1) Civil Cover Sheet)(rll, }

Filed: 09/04/20071Summons Issued
Entered: 09/07/2007

Docket Text: Summons Issued as to Sewerage & Water Board of New Orleans, St. Paul Fire & Marine Insurance
Co., National Union Fire Insurance Company of Pittsburgh, Board of Commissioners of the Port of New
Orleans, CSX Corporation, CSX Transportation, Inc., Public Belt Railroad Commission for the City of New
Orleans, United States of America, Board of Commissioners of the Orleans Levee District, Board of
Commissioners of the East Jefferson Levee District. (rll, )

[wa

Filed & Entered: 09/14/2007] Order

Docket Text: CASE CONSOLIDATED with 05-4182. PROTOCOL for Case Management Order Number 2,
Case Management Order No. 3 and Case Management Order No. 4. Counsel to Comply with Case Management
Orders. Signed by Judge Stanwood R. Duval Jr. on 10/20/06. (Attachments: # (1) Case Management Order No.
3# (2) Case Management Order No. 4)}(blg)

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Filed: 01/17/2008] Order Staying Case
Entered: 01/28/2009

Docket Text: ORDER AND REASONS granting Motion to Stay (doc #9057 in master case). No further motion
practice shall occur in any other matter concerning FTCA or AEA claims against the United States until the stay
is lifted upon the resolution of the immunity issues inherent therein as proceeding under the CMO No. 4 in the
Master Complaints, Barge and Robinson. The United States shall provide the Court with a specific list of the
cases and case numbers of these matters. Signed by Judge Stanwood R. Duval, Jr on 1/17/08. (Original filed in
master case 05-4182, doc #10620\(blg)

[LA

Filed: 01/22/2008] Order
Entered: 01/28/2009

Docket Text: AMENDED ORDER re [4] Order Staying Case. Signed by Judge Stanwood R. Duval, Jr on
1/22/08. (Original filed in master case 05-4182, doc #10723)\(blg)

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Filed: 01/31/2008] Notice (Other)
Entered: 01/28/2009

Docket Text: NOTICE of Case List by United States of America re [5] Amended Order, [4] Order Staying Case.
(Original filed in master case 05-4182, doc #11001)(blg)

Filed: 12/19/2008 | Order

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Case 2:05-cv-04182-SRD-JCW Document 20048-1 Filed 09/15/10 Page 2 of 3

Entered: 01/28/2009

Docket Text: ORDER confirming Stay of Certain Claims - All claims asserted against the Orleans Levee
District, Board of Commissioners, Orleans Levee District, East Jefferson Levee District, Board of
Commissioners, East Jefferson Levee District, Lake Borgne Basin Levee District, Board of Commissioners,
Lake Borgne Basin Levee District, and St. Paul Fire & Marine Insurance Company ("Stayed Defendants") 1 in the
Federal Pending Actions are stayed (including discovery). All parties are enjoined from pursuing any claims
asserted in the Federal Pending Actions (including discovery) against said Stayed Defendants absent further
order of this Court. No finding, judgment, adjudication or verdict rendered in the Federal Pending Actions after
December 15,2008, shall be binding or have any precedential effect on the Stayed Defendants. Signed by Judge
Stanwood R. Duval, Jr on 12/19/08. (Attachments: # (1) Appendix to Stay of Certain Claims and Actions)
(Original filed in master case 05-4182, doc #16811)(blg)

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Filed: 12/19/2008
Entered: 01/28/2009

Order Staying Case

Docket Text: ORDER of Preliminary Certification of a Settlement Class, Preliminary Approval of Proposed
Settlement and Stay of Certain Claims and Actions (Original filed in master case 05-4182, doc #16721). Signed
by Judge Stanwood R. Duval, Jr on 12/15/08 .(blg)

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Filed: 01/26/2009
Entered: 03/06/2009

Order

Docket Text: ORDER Granting Motion to Dismiss Case as to CSX Transportation, Inc. (Motion originally filed
in Master Case 05-4182 as rec. doc. no. 10690.) Signed by Judge Stanwood R. Duval, Jr.Gjg, )

Filed: 12/22/2009 | Order
Entered: 01/12/2010

10 | Docket Text: ORDER granting Motion to Dismiss (filed in master case, doc #10696). CSX Corporation.

terminated. Signed by Judge Stanwood R. Duval, Jr. on 12/22/2009. (Order originally filed in master case 05-
4182, doc #19511).(jg, )

Filed: 01/11/2010}Order

Entered: 04/29/2010

Docket Text: ORDERED that any and all claims against National Union Fire Insurance Company raised by all

“~ |plaintiffs in any of the lawsuits who case numbers are identified in document are hereby dismissed with full

prejudice, each party to bear its own costs. Signed by Judge Stanwood R. Duval, Jr on 1/11/2010. (**Originally
filed in master case 05-4182, doc #19560) (blg)

Filed: 04/07/2010
Entered: 04/29/2010

Judgment - Rule 54(b)

Docket Text: JIDGMENT under Rule 54(b) - ORDERED, ADJUDGED AND DECREED that judgment herein

12 fin favor of National Union and against the plaintiffs of the matters as stated on document, is expressly declared a

final judgment and National Union is hereby dismissed from the above-captioned matters with full prejudice
National Union Fire Insurance Company of Pittsburgh, PA terminated. Signed by Judge Stanwood R. Duval, Jr

on 4/7/2010. (**Originally filed in master case 05-4182, doc #19713) (big)

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